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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 21-61644-CIV-SINGHAL

  SECURITIES AND EXCHANGE COMMISSION,

                               Plaintiff,
  v.

  MJ CAPITAL FUNDING, LLC,
  MJ TAXES AND MORE, INC., and
  JOHANNA M. GARCIA,

                               Defendants,

                                                      /

     DEFENDANT JOHANNA M. GARCIA’S MEMORANDUM IN OPPOSITION TO
   PAVEL RUIZ’S MOTION TO QUASH SUBPOENA TO TESTIFY AT A DEPOSITION
   AND SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION OR OBJECTS OR
                         TO PERMIT INSPECTION

         Pursuant to Fed. R. Civ. P. 45 and S.D. Fla. L.R. 7.1, Defendant Johanna M. Garcia

  (“Garcia”), by and through her undersigned counsel, submits this Memorandum of Law in

  Opposition to Non-Party Pavel Ruiz’s (“Ruiz”) Motion to Quash Subpoena(s) to Testify at a

  Deposition and Subpoena to Produce Documents Information or Objects or to Permit Inspection

  (the “Motion to Quash”) [ECF No. 72], and, in support hereof, states as follows:

                     I.   SUMMARY AND BACKGROUND OF MOTION

         On August 9, 2021, the Securities and Exchange Commission (the “SEC”) filed a Complaint

  for Injunctive and Other Relief and Demand for Jury Trial [ECF No. 1] commencing this action

  against the Receivership Defendants and Garcia. The SEC alleges, inter alia, that Garcia used the

  Receivership Defendants to run a Ponzi scheme that tricked investors into thinking the money they

  invested would be used to fund small business loans called Merchant Cash Advances (“MCAs”) and
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  that they would receive an annual return of between 120% - 180%. See ECF 1 ¶¶ 1-3. The SEC

  further alleges that representations that investor money would be used to fund MCAs were lies, and

  in reality the Investor “returns” were funded with money obtained from new Investors. See id. at ¶¶

  5, 33.

           On September 8, 2021, Garcia filed a Certificate of Interested Parties that identified Ruiz as

  a Sales Agent of Defendant MJ Capital Funding, LLC, a Member of MJ Lounge LLC, and a

  borrower of MJ Capital Funding, LLC. See ECF No. 52. Ruiz is a material witness and is in

  possession of documents and information directly relevant to Defendant Garcia’s Affirmative

  Defenses and Avoidances and she is along with various entities controlled by or affiliated with Ruiz.

  See ECF No. 52.

           On September 24, 2021, Garcia served a Notice of Intent to Serve Non-Party Subpoenas on

  Ruiz, including a Subpoena to Testify at a Deposition on October 15, 2021, and a Subpoena Duces

  Tecum with a deadline of October 11, 2021 (collectively, “the Garcia Subpoenas”).

           Ruiz was served with the Garcia Subpoenas on September 28, 2021.

           On October 8, 2021, just three (3) days before he was to produce documents and less than

  a week before his scheduled deposition, Ruiz filed the Motion to Quash [ECF No. 72] invoking his

  Fifth Amendment rights in response to both of the Garcia Subpoenas. Ruiz’s Motion to Quash is not

  well founded and should be denied.




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                                         II.     ARGUMENT

         A.      Ruiz Cannot Avoid Complying with the Garcia Subpoenas By Asserting a
                 Blanket Invocation of the Fifth Amendment.

         Ruiz cannot avoid his obligations to appear for testimony and produce doucments pursuant

  to duly issued subpoenas by invoking an overly broad, blanket invocation of the Fifth Amendment

  Privilege against self-incrimination. See Hoffman v. United States, 341 U.S. 479, 486 (1951) (“The

  witness is not exonerated from answering merely because he declares that in so doing he would

  incriminate himself—his say-so does not of itself establish the hazard of incrimination. It is for the

  court to say whether his silence is justified....”); United States v. Roundtree, 420 F.2d 845, 852 (5th

  Cir. 1969), reh'g denied and opinion modified, (5th Cir. Apr. 20, 1970) (“even if the danger of self-

  incrimination is great... [the] remedy is not to voice a blanket refusal to produce his records or to

  testify. Instead, he must present himself with his records for questioning, and as to each question and

  each record elect to raise or not to raise the defense.”); Sallah v. Worldwide Clearing LLC, 855 F.

  Supp. 2d 1364, 1370–71 (S.D. Fla. 2012) (“It is well established that a person may not make a

  blanket objection to testifying or producing records, based on her Fifth Amendment privilege, but

  instead, must invoke the privilege question by question or request by request.”).

         Ruiz contends that the Garcia Subpoenas should be quashed pursuant to Rule 45(d)(3),

  ostensibly because the Subpoenas require “disclosure of privileged or other protected matter.” Fed.

  R. Civ. P. 45(d)(3)(iii). However, the Eleventh Circuit has recognized that not every question posed

  at Ruiz’s deposition or every document requested from him will implicate Fifth Amendment


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  concerns, and a blanket invocation of the privilege, as Ruiz has asserted, is defective. See Anglada

  v. Sprague, 822 F.2d 1035, 1037 (11th Cir. 1987) (rejecting a blanket invocation of the Fifth

  Amendment privilege).

         Ruiz’s attempt to avoid testifying at deposition or producing responsive documents by

  generally invoking his Fifth Amendment rights in a Motion to Quash is improper and ineffective.

  He must do so specifically, question-by-question and request-by-request.

         B.      Ruiz Cannot Avoid Producing Documents By Generally Asserting that Such
                 Production Is “Testimonial” and Implicates His Fifth Amendment Rights
         Ruiz has not shown a proper basis for invoking the Fifth Amendment as to the Production

  Subpoena. Instead, he claims, as to every category of request, that “[t]he very act of production

  records of this nature demonstrates access, control and the suggestion that the documents are

  authentic. Such acts are also protection by the Fifth Amendment.” [ECF No. 72, at ¶4]. Again, a

  general invocation of Fifth Amendment rights – with no specificity as to how complying with a

  particular request is “testimonial” – is improper.


         The Eleventh Circuit has concluded that “[t]he touchstone of whether an act of production

  is testimonial is whether ... [the subpoena] compels the individual to use ‘the contents of his own

  mind’ to explicitly or implicitly communicate some statement of fact.” In re Grand Jury Subpoena

  Duces Tecum Dated March 25, 2011, 670 F.3d 1335, 1345 (11th Cir. 2012)(quoting Curcio v.

  United States, 354 U.S. 118, 128, 77 S.Ct. 1145, 1 L.Ed.2d 1225 (1957)). Just as with a deposition,

  not every document request implicates potential criminal prosecution.


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         Ruiz has failed to properly invoke the Fifth Amendment privilege under the Act of

  Production Doctrine as to the duces tecum portion of the Subpoena. Instead, he makes a blanket

  claim in blunderbuss fashion as to every category of request, that “[t]he very act of producing records

  of this nature demonstrates access, control and the suggestion that the documents are authentic. Such

  acts are also protected by the Fifth Amendment.” (ECF 72 at ¶ 4).


         Blanket invocation of the Fifth Amendment privilege to avoid producing documents has been

  soundly rejected. See, e.g., Scarfia v. Holiday Bank, 129 B.R. 671, 674 (M.D. Fla. 1990)(respondent

  “may not cloak himself with the Fifth Amendment's protection against self-incrimination simply by

  a blanket assertion that his answers to interrogatories, requests for admissions and requests for

  production of documents will tend to incriminate him.”)


         It is beyond cavil that the party seeking to invoke a privilege has the burden of establishing

  all of its essential elements. Adelman v. BSA, 276 F.R.D. 681, 689–90 (S.D. Fla. 2011). Ruiz has

  failed to do so and his Motion to Quash should be denied.


                                         III.    CONCLUSION


         For the foregoing reasons, Defendant Garcia respectfully requests that the Court deny

  Pavel Ruiz’s Motion to Quash and grant Garcia such other and further relief as this Court deems

  appropriate.




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  Date: October 11, 2021                     Respectfully submitted,
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                                  CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on October 11, 2021, I electronically filed the foregoing

  DEFENDANT JOHANNA M. GARCIA’S MEMORADNUM IN OPPOSITION TO PAVEL

  RUIZ’S MOTION TO QUASH SUBPOENA TO TESTIFY AT A DEPOSITION AND

  SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION AND OBJECTS OR TO

  PERMIT INSPECTION with the Clerk of the Court by using the CM/ECF system, which will

  generate a Notice of Electronic filing to the following CM/ECF participants:




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